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                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                             CENTRAL DIVISION

UNITED STATES OF AMERICA                                                      PLAINTIFF

V.                          CASE NO. 4:19-CR-683-KGB-3

ELMAREO SPEED                                                               DEFENDANT

                                         ORDER

       Defendant Elmareo Speed has moved for reconsideration of the Court’s order

denying pretrial release. (Doc. No. 48) As a basis for the motion, Mr. Speed notes that

state charges pending at the time of his federal bond hearing—kidnaping, breaking and

entering, and third-degree domestic battery—were resolved through his guilty plea to

aggravated assault on a family member. The state court suspended imposition of sentence

in that assault conviction. The United States opposes the motion to reconsider detention.

(Doc. No. 50)

       At the December 20, 2019 bond hearing in this case, the Court found by clear and

convincing evidence that Mr. Speed’s release would pose an unreasonable risk of danger

to the community based on his violent criminal history, including multiple domestic

battery charges, drug charges, and charges of being a felon in possession of a firearm.

(Doc. No. 16)

       A court may revisit the issue of pretrial detention if it finds changed circumstances

“that ha[ve] a material bearing on the issue [of] whether there are conditions of release

that will reasonably assure the appearance of such person as required or the safety of any

other person and the community.” 18 U.S.C. § 3142(f). The resolution of Mr. Speed’s
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state charges does not have a material bearing on whether there are conditions of release

that would reasonably assure public safety. For that reason, the motion is DENIED.

      SO ORDERED, this 17th day of May, 2021.


                                         ___________________________________
                                         UNITED STATES MAGISTRATE JUDGE




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